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                        UNITED STATES BANKRUPTCY COURT FOR
                         THE WESTERN DISTRICT OF WISCONSIN


In Re:                                                            In Bankruptcy No:

ISRAEL MCKINNEY and
JENNIFER MCKINNEY

                         Debtors.                                 Case No: 22-11558


 MOTION TO EXTEND TIME TO COMPLY WITH COURT ORDER (DOCKET #157)
              UP AND THROUGH UNTIL JANUARY 12, 2024


         Israel and Jennifer McKinney, debtors by their attorneys, PITTMAN & PITTMAN LAW

OFFICES, LLC by Greg P. Pittman, hereby move the Court for an additional twenty-two days (up and

until January 12, 2024) to comply with the Court Order (Docket #157). At the time of the hearing on

November 30, 2023, the undersigned was not aware that Jennifer McKinney was to undergo surgery in

December and by the time that the undersigned had reached out to the Debtor, she was unable to sign a

duplicate 2022 tax return for the IRS. This signed tax return is necessary for the IRS to properly amend

the proof of claim to get to the correct figure. The tax return has now been signed and was delivered to the

IRS Insolvency Agent for processing on December 18, 2023. Based on information and belief, that due to

the holidays and end of the year, it will take the IRS a few weeks to amend the proof of claim. Once that

proof of claim is amended and filed with the court, the Debtors will be able to prepare and file the

amended chapter 13 plan necessary to move the case forward. The Debtors are current on all other aspects

of this case and continue to make their monthly payment to the Trustee.

         Wherefore, the Debtors are requesting the twenty-two day extension of time to file amended plan.

         Dated this 21st     day of December, 2023 at La Crosse, Wisconsin.

                                                 PITTMAN & PITTMAN LAW OFFICES, LLC.


                                                          By:     s/Greg P. Pittman
                                                                  Greg P. Pittman
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                                               Attorney for Debtors
                                               Attorney No. 1073787
                                               712 Main Street
                                               La Crosse, WI 54601
                                               (608) 784-0841
